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                                               IN THE UNITED STATES DISTRICT COURTS
                                              FOR THE EASTERN DISTRICT OF CALIFORNIA
                                     AND THE NORTHERN DISTRICT OF CALIFORNIA
                              UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
                                PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE

                 RALPH COLEMAN, et al.,                           ) No. Civ S 90-0520 LKK-JFM P
                                                                  )
                                Plaintiffs,                       ) THREE-JUDGE COURT
                                                                  )
                        vs.                                       )
                                                                  )
                 ARNOLD SCHWARZENEGGER, et al.,                   )
                                                                  )
                                Defendants                        )
                                                                  )
                 MARCIANO PLATA ,et al.,                          ) No. CO1-1351 TEH
                                                                  )
                                Plaintiffs,                       ) THREE-JUDGE COURT
                        vs.                                       )
                                                                  ) DECLARATION OF PAUL MELLO
                 ARNOLD SCHWARZENEGGER, et al.,                   ) REGARDING SUBMISSION OF DEFENDANTS'
                                                                  ) EXPERT REPORTS
                                Defendants                        )
                                                                  ) TO: Three-Judge Panel

                         I, Paul Mello, declare:
                         1.      I am an attorney licensed to practice before the courts of the State of California and

                  admitted the Northern and Eastern Districts of the United States District Court of California. I am a

                  partner with the firm of Hanson Bridgett LLP, counsel of record for Defendants in the Plata v.
                                                                   -1-
                    DECL. PAUL MELLO SUBMISSION DEFS.' EXPERT REPORT                        CASE NOS.: CN S 90-0520 LKK-JFM, C01-
[232656-1]                                                                                                               1351 TEH
                   Case 2:90-cv-00520-KJM-SCR            Document 3139         Filed 10/30/08     Page 2 of 3


                 Schwarzenegger, et al., matter. I submit this declaration to submit Defendants' Expert Witness

             2   Reports. I have personal knowledge of the matters set forth in this declaration, and if called upon to do

             3   so, would and could competently testify to the matters set forth below.

             4          2.      Attached as Exhibit A is a true and correct copy of the Preliminary Expert Report from

             5   Gale Bataille, MSW, dated August 15, 2008.

             6          3.      Attached as Exhibit B is a true and correct copy of the Rebuttal Report of Gale

             7   Batailee, MSW, dated August 27, 2008.

                        4.      Attached as Exhibit C is a true and correct copy of the Preliminary Expert Report from
                 Dr. James Marquart, Ph.D., dated August 14, 2008.

                        5.      Attached as Exhibit D is a true and correct copy of the Rebuttal Report of James

                 Marquart, Ph.D., dated August 27, 2008.

                        6.      Attached as Exhibit E is a true and correct copy of the Supplemental Report of James
                 W. Marquart; Ph.D., dated September 22, 2008.

                        7.      Attached as Exhibit F is a true and correct copy of the Preliminary Expert Witness
                 Report from Ira K. Packer, Ph.D, dated November 8, 2007.
                        8.      Attached as Exhibit G is a true and correct copy of the Expert Report from Ira K.
                 Packer, Ph.D., dated December 10, 2007.

                        9.      Attached as Exhibit H is a true and correct copy of the Addendum Report from Ira K.
                 Packer, Ph.D., dated August 15, 2008.

                        10.     Attached as Exhibit I is a true and correct copy of the Addendum Expert Report from
                 Ira K. Packer, Ph.D., dated October 1, 2008.
                        11.     Attached as Exhibit J is a true and correct copy of the Report from David L. Thomas,
                 M.D., J.D., dated November 9, 2007.
                        12.     Attached as Exhibit K is a true and correct copy of the Addendum to Statement of

                 Opinions from David L. Thomas, M.D., J.D.
                        13.     Attached as Exhibit L is a true and correct copy of the Addendum II to Statement of
                 Opinions from David L. Thomas, M.D., JD, dated September 17, 2008.


                                                                    -2-
                    DECL. PAUL MELLO TO: THREE-JUDGE PANELSUBMISSION DEFS.' EXPERT REPORT                             CASE NOS.:
[232656-1]                                                                                   CIV S 90-0520 LKK-JFM, C01-1351 TEH
                  Case 2:90-cv-00520-KJM-SCR              Document 3139           Filed 10/30/08   Page 3 of 3


             1          I declare under penalty of perjury that the foregoing is true and correct. Executed on October

             2   30, 2008 in San Francisco, California.

             3                                                 //s// Paul Mello
                                                               PAUL MELLO
             4

             5

             6

             7




                                                                    -3-
                    DECL. PAUL MELLO TO: THREE-JUDGE PANELSUBMISSION DEFS.' EXPERT REPORT                              CASE NOS.:
[232656-1]                                                                                    CIV S 90-0520 LKK-JFM, C01-1351 TEH
